4:08-cr-03148-RGK-CRZ      Doc # 458   Filed: 04/12/11   Page 1 of 3 - Page ID # 1478




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )
                   Plaintiff,           )                 4:08CR3148
                                        )
             v.                         )
                                        )
ANGEL M. KOSKI,                         )      MEMORANDUM AND ORDER
                                        )
                   Defendants.          )
                                        )


      Angel M. Koski (Koski) seeks a reduction in her sentence because of
Amendment 742 to the Guidelines that eliminated criminal history points for
“recency.” I construe her pro se motion as one brought pursuant to 18 U.S.C. §
3582(c), and I deny it.

       Koski was sentenced on December 15, 2009. (Filing no. 352.) At that time,
her criminal history category was VI, and she had 16 criminal history points. (Filing
no. 343 at CM/ECF p. 15 and ¶ 70.)

       On May 14, 2010, the U.S. Sentencing Commission sent to Congress notice of
several new amendments to the United States Sentencing Guidelines slated to take
effect on November 1, 2010. 75 Fed.Reg. 27388-01. One of the new amendments
eliminated a guideline provision that had been in place since the Guidelines'
inception–U.S. S.G. § 4A1.1(e). Section 4A1.1(e) added to a defendant's criminal
history points what are generally referred to as “recency” points.

       Either one or two points were added to a defendant's criminal history under §
4A 1.1(e) when the defendant committed the current offense within two years of being
released from a term of imprisonment of at least sixty days. This amendment is now
4:08-cr-03148-RGK-CRZ      Doc # 458     Filed: 04/12/11   Page 2 of 3 - Page ID # 1479




formally designated as Amendment 742, although it was sometimes referred to as
“Amendment 5” because it was listed fifth in the notice sent on May 14, 2010, to
Congress in 75 Fed.Reg. 27388-01. Amendment 742 does leave in place § 4A1.1(d),
which adds criminal history points when a defendant was under supervision while
committing the current offense. Section 4A 1.1(d) provides, “Add 2 points if the
defendant committed the instant offense while under any criminal justice sentence,
including probation, parole, supervised release, imprisonment, work release, or escape
status.”

      Although Amendment 742 took effect on November 1, 2010, the Commission
did not make the amendment retroactive. Pursuant to both section 3553(a)(4) and the
guidelines, district courts must use the guidelines in effect on the date of sentencing.
18 U.S.C. § 3553(a)(4); U.S.S.G. § 1B 1.11. Defendants who have already been
sentenced are not entitled to relief under a new guideline amendment unless the
Sentencing Commission lists the new amendment in U.S.S.G. § 1B1.10(c). See, e.g.,
28 U.S.C. § 994(o)&(u). With regard to Amendment 742, the Commission studied and
considered whether to make Amendment 742 retroactive, but it ultimately decided
against retroactivity for Amendment 742.

       Since Amendment 742 is not listed in U.S.S.G. § 1B1.10(c), this Court has no
authority to apply the amendment and reduce the defendant's sentence. Indeed, other
courts have consistently refused to grant movants like Koski relief under Amendment
742. See, e.g., United States v. Cabrera, 2011 WL 476616 (S.D. N.Y. 2011); United
States v. Randall, 2011 WL 52551 (D. Kan. 2011); United States v. Boone, 2010 WL
4853289 (E.D. Va. 2010). This is because “[n]o one disputes that the Commission's
retroactivity determinations ... are binding.” Dillon v. United States, 130 S. Ct. 2683,
2693 (2010).

      It is also worth observing that Koski would not be entitled to relief even if I
could apply Amendment 742. Since she had 16 criminal history points at the time of

                                          -2-
4:08-cr-03148-RGK-CRZ     Doc # 458   Filed: 04/12/11   Page 3 of 3 - Page ID # 1480




sentencing, her criminal history score would remain at category VI (the worst) even
if two points were removed.

      Accordingly,

       IT IS ORDERED that “Petition For Two (2) Point Reduction In Offense Level
Due to Revision In the Sentencing Guidelines Effective December 2010" (filing no.
457) is denied.

      DATED this 12th day of April, 2011.

                                      BY THE COURT:

                                      Richard G. Kopf
                                      United States District Judge




                                        -3-
